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ee , @ 3:22-cv-00768-HEH-MRC Document1 Filed 12/14/22 Page 1 of 5 PagelD# 1
CR 19 EFA IN THE UNITED STATES DISTRICT COURT

> ! FOR THE EASTERN DISTRICT OF VIRGINIA
COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C. 1983

fiur Cpnrser Action Number 3-AAcy 168

Please fill out this complaint form completely. The court needs the information requested in
order to assure that your complaint-is-processed as quickly as possible and that all your claims
are addressed. Please print/write legibly or type.

I... PARTIBS;---._. __..
A. PLAINTIFF:

1 @Gearge Rare’ a) # FFG FO!
Qe

(Name) (Inmate Number)
Yt Bayi ht (edb.
. (Address)
4 aad eoee Lite 1h.92.479-

Plaintiff MUST keep the Clerk of Court notified, of any change of address due to transfer or
release. If plaintiff fails to keep the Clerk informed of such changes, this action may be
dismissed.

Plaintiff is advised that only persons acting under the color of state law are proper

defendants under section 1983. The Commonwealth of Virginia is immune under the Eleventh
Amendment. Private parties such as Attorney's and other Inmates may not be sued under section

Sheriffs are not liable under section 1983, just because they supervise persons who may have

deprivation. In addition, prisons, jails, and departments within an institution are not persons
"under section1983—--—- EEE oe omrms ts

B. DEFENDANT (S): _
SfotyLUanca Girtu.T Coucl
— (b)

_ (Name) ( Title/ Job Description)
() PI § Courthouse kA
(Address)

SET LVania Va. 29555

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2 (@ (b)

(Name) (Title/Job description)
(c)
(Address)
3. (a) (b)
(Name) Mitle/Tob Description) — oo.
mene ee ee fe) capt seat ee —
(Address)

If there are additional defendants, please list them on a separate sheet of paper.
Provide all identifying information for each defendant named.

Plaintiff MUST provide an address for a complaint. If plaintiff does not provide an
address for a defendant,
that person may be dismissed as a party to this action.

In addition, plaintiff MUST provide a copy of the completed complaint and any
attachments for each
defendant named.

I. PREVIOUS LAWSUITS
A. Have you ever begun other lawsuits in any state or federal court relating to your

imprisonment?
Yes No So

B. If your answer to A. is YES, ‘youn must describe any lawsuit whether currently pending or

° ‘closed;— ~~ -
in the space below. r there is more s than one lawsuit, you must describe each lawsuit on
another sheet

of paper, using the same outline, and attach hereto.)

1. Parties to previous lawsuits:

” Plaintife @Geurg2 Ra ney

Defendant's:S PaTYL Vans @ Couat-¥ CacTus Tt Ctact

2. Court (if federal court, name and district; if state court, name the country):

3. Date lawsuit filed:
4. Docket Number:

5. Name of Judge to whom case was assigned:

6. Disposition (Was case dismissed? Appealed? Is it still pending? What relief was
granted, if any?):

B. Does the institution listed in A havea grievance procedure?
‘Yes No

C. If your answer to B is YES:
1. Did you file a grievance based on this complaint? Yes No

2. Ifso,-where and when? ~

3. What was the result?:

4. Did you appeal? Yes No
5. Result of the appeal:

D. If there was no prison grievance Procedure in the institution, did you complain to the prison

authorities?? Lo .
Yes No

———

If your answer is YES: What steps did you take?

‘E. If your answer is NO: explain why you did not submit your complaint to the prison
authorities?

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IV. STATEMENT OF THE CLAIM

“ { State here as briefly as possible the facts of your case. Describe how each defendant is
involved, and how you were harmed by their actions. You may include the names of any other
persons involved, dates, and places of events. You may cite constitutional amendments you
allege were violated, but do not give any legal arguments or cite cases or Statues.

If you intend to allege several related claims, number and set forth each claim in a separate

paragraph.
( Attach additional sheets if necessary.)

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The Case Was Nate Presegut ON 9-26-19 fouTT
Las  Aasthecr Cour]. The AftacneyY FaThe

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V. RELIEF

T understand that in a section 1983 action the court cannot change my sentence, release me from
custody or restore my good time. I understand I should file a petition for writ of habeas corpus if

I desire this type of relief. £f, /2 (initial) | Te te ee ce ee ene

The plaintiff wants the court to: { check those remedies you seek}
i“ award money damages in the amount of $_

grant injunctive relief by

other

Were transferred during this Period, list the date(s) of transfer. Provide an address for each

“Ha Ynesustte Corre CanTer
of Barn Fveid Rd,
Ale ynesi He 935 Yan

VI. CONSENT

CONSENT TO TRIAL BY MAGISTRATE JUDGE: The parties are advised of their right,
pursuant to 28 U.S.C.S. 636 (C) to have a U.S. Magistrate Judge preside over a jury or court-trial
with, With appeal to the District Coit or direct ‘appeal to the United State Cotirt of Appeals for ~

If you checked YES, do you wish to have an appeal to the District Court
or directly to the U.S. Court of Appeals? (Choose One)

VI. SIGNATURE
If there is more than one plaintiffeach plaintiff, must sign for himself or herself.

Signed this PY day fFJoyv. ,207-2.
Plaintiff

